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UNITED STATES DISTRICT COURT jr

EASTERN DISTRICT OF VIRGINIA | SUN 24201 |

RICHMOND DIVISION |
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H. CRAIG FABIAN {

Painut Case No.: B. | Iev 409

TAEKYEUN, LLC, a Virginia limited
Liability company,

VS.

Defendant.
/
COMPLAINT

Plaintiff, H. CRAIG FABIAN ("Plaintiff"), through her undersigned counsel,
hereby files this Complaint and sues TAEKYEUN, LLC., a Virginia limited liability
company, for injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181,
et.seq., ("AMERICANS WITH DISABILITIES ACT" or "ADA") and allege:

JURISDICTION AND PARTIES

1. This is an action for declaratory and injunctive relief pursuant to Title III
of the Americans With Disabilities Act, 42 U.S.C. §12181 et. seq. (hereinafter referred to
as the "ADA").

2. This Court is vested with original jurisdiction under 28 U.S.C. §§1331 and
1343. Venue is proper in this Court pursuant to 28 U.S.C. §1391(B) and Local Rules of
the United States District Court for the Eastern District of Virginia.

3. Plaintiff, H. CRAIG FABIAN (hereinafter referred to as “MR
FABIAN") is a resident of the State of Virginia and is a qualified individual with a
disability under the ADA. MR FABIAN suffers from what constitutes a "qualified

disability" under the Americans With Disabilities Act of 1990, ("ADA") and all other
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applicable Federal statutes and regulations. Prior to instituting the instant action, MR
FABIAN personally visited the Defendant’s premises, GLENSIDE CENTER II, located
at and around the intersection of 4034 Crockett Street, Henrico, VA, (hereinafter
referred to as the “SHOPPING CENTER”), and was denied full, safe and equal access to
the Defendant’s premises due to the barriers to access which exist and the Defendant’s
lack of compliance with the ADA. MR FABIAN intends to and continues to desire to
visit the Defendant’s premises but continues to be denied full, safe and equal access due
to the barriers to access and violations which continue to exist. On February 1, 2011,
plaintiff sent a letter to defendant, through Compliance Alliance, notifying Defendant of
the alleged barriers to access at its bar/restaurant. Said letter is attached hereto as Exhibit
“A” and incorporated herein. Defendant never responded to said letter.

4. The Defendant, TAEKYEUN, LLC, a Virginia limited liability company,
(hereinafter referred to as “TAEKYEUN”) is authorized to conduct and is conducting
business in the State of Virginia. Upon information and belief, TAEKYEUN is the
owner and/or operator of the SHOPPING CENTER.

5. All events giving rise to this lawsuit occurred in the Eastern District of
Virginia in Henrico County.

COUNT I - VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

6. On or about July 26, 1990, Congress enacted the Americans With Disabilities Act
("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one-and-a-half
years from enactment of the statute to implement its requirements. The effective date of Title II
of the ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508(A).

7. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the establishment
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owned and/or operated by TAEKYEUN is a place of public accommodation in that it is a
SHOPPING CENTER, which provides goods and services to the public.

8. Defendant, TAEKYEUN has discriminated, and continues to discriminate against
the Plaintiff, and others who are similarly situated, by denying access to, and full and equal
enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at the
SHOPPING CENTER in derogation of 42 U.S.C. § 12101 et. seq.

9. The Plaintiff has been unable to and continues to be unable to enjoy access to, and
the benefits of the services offered at the SHOPPING CENTER. Prior to the filing of this
lawsuit, the Plaintiff visited the Defendant’s premises and was denied access to the benefits,
accommodations and services of the Defendant’s place of public accommodation and therefore
suffered an injury in fact. In addition, the Plaintiff continues to desire and intends to visit the
SHOPPING CENTER, but continues to be injured in that he is unable to and continues to be
discriminated against due to the architectural barriers which remain at the SHOPPING CENTER
in violation of the ADA. MR FABIAN has now and continues to have reasonable grounds for
believing that he has been and will be discriminated against because of the Defendant’s
deliberate and knowing violations of the ADA.

10. Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the
Department of Justice, Office of the Attorney General, promulgated Federal Regulations to
implement the requirements of the ADA 28 C.F.R. Part 36.

11. TAEKYEUN is in violation of 42 U.S.C. § 12181 et.seq and 28 C.F.R. § 36.302

et seq., and are discriminating against the Plaintiff as a result of inter alia, the following specific

barriers to access:

i. The required number of accessible spaces is not provided
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ii. No van accessible spaces are provided

iii. Some spaces do not have above grade signage

iv. Some of the existing above grade signs do not contain verbiage required by the
state USBC

v. Some access aisles are less than 60” wide

vi. The slope of some curb ramps maintain grades in excess of 8.33%

12. There are other current violations of the ADA at the SHOPPING CENTER owned
and/or operated by TAEKYEUN that are not specifically identified herein as the Plaintiff is not
required to engage in a futile gesture pursuant to 28 C.F.R. Part 36, § 36.501 and, as such, only
once a full inspection is performed by Plaintiff or Plaintiff's representatives can all said
violations be identified.

13. To date, the readily achievable barriers and other violations of the ADA still exist
and have not been remedied or altered in such a way as to effectuate compliance with the
provisions of the ADA.

14. Pursuant to the ADA, 42 U.S.C. § 12101 et. seq., and 28 C.F.R. § 36.304,
TAEKYEUN was required to make the subject property, a place of public accommodation,
accessible to persons with disabilities by January 28, 1992. To date, TAEKYEUN has failed to
comply with this mandate.

15. The Plaintiff has been obligated to retain undersigned counsel for the filing and
prosecution of this action. Plaintiff is entitled to have his reasonable attorney’s fees, costs and
expenses paid by TAEKYEUN, pursuant to 42 U.S.C. § 12205.

16. Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant
Plaintiff's injunctive relief, including an order to alter the subject facility to make it readily
accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facility until the requisite modifications are completed.
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WHEREFORE, the Plaintiff demands judgment against TAEKYEUN and requests the
following injunctive and declaratory relief:

A. That the Court declare that the property owned and
administered by TAEKYEUN is violative of the
ADA;

B. That the Court enter an Order directing TAEKYEUN
to alter the subject facility to make it accessible to and
usable by individuals with disabilities to the full extent
required by Title III of the ADA;

C. That the Court enter an Order directing TAEKYEUN
to evaluate and neutralize its policies, practices and
procedures toward persons with disabilities, for such
reasonable time so as to allow them to undertake and
complete corrective procedures;

D. That the Court award reasonable attorney’s fees, costs
(including expert fees) and other expenses of suit, to
the Plaintiff; and

E, That the Court award such other and further relief as it
deems necessary, just and proper.

Dated April 6, 2011 Respectfully submitted,

/s/ James T. Tsai
James Tse Chung Tsai, Esquire yy
Virginia Bar No. 76141

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Proposed Pro hac vice Lead Counsel
